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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

   UNITED STATES OF AMERICA, ex rel.
   BARBARA BERNIER; BARBARA
   BERNIER; and ESE LOVE

                  Plaintiffs,
                                                           Case no. 6:16-CV-00970-RBD-TBS
                  v.

   INFILAW CORPORATION; CHARLOTTE
   SCHOOL OF LAW, LLC; AMERICAN BAR
   ASSOCIATION, d/b/a COUNCIL OF THE
   SECTION OF LEGAL EDUCATION AND
   ADMISSIONS TO THE BAR; and
   AMERICAN BAR ASSOCIATION, d/b/a
   ACCREDITATION COMMITTEE OF THE
   SECTION OF LEGAL EDUCATION AND
   ADMISSIONS TO THE BAR

                  Defendants.


                       NOTICE OF PENDENCY OF OTHER ACTIONS

           In accordance with Local Rule 1.04(c), I certify that the instant action:

   ______ IS              related to pending or closed civil or criminal case(s) previously filed in
                          this Court, or any other Federal or State court, or administrative
                          agency as indicated below:

    X       IS NOT        related to any pending or closed civil or criminal case filed with this
                          Court, or any other Federal or State court, or administrative agency.

           I further certify that I will serve a copy of this NOTICE OF PENDENCY OF

   OTHER ACTIONS upon each party no later than eleven days after appearance of the party.

   DATED: June 12, 2018                          Respectfully submitted,

                                                 /s/ Johanna W. Clark
                                                 Johanna W. Clark
                                                 Florida Bar No. 196400



   115020554.1
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                                                CARLTON FIELDS JORDEN BURT P.A.
                                                450 S. Orange Ave., Suite 500
                                                Orlando, Florida 32801
                                                Telephone: (407) 244-8257
                                                Facsimile: (407) 648-9099
                                                Email: jclark@carltonfields.com

                                                Anne E. Rea (IL 6188384)*
                                                area@Sidley.com
                                                Tacy F. Flint (IL 6284806)*
                                                tflint@Sidley.com
                                                Steven Horowitz (IL 6307861)*
                                                shorowitz@Sidley.com
                                                Benjamin I. Friedman (IL 6317623)*
                                                SIDLEY AUSTIN LLP
                                                One South Dearborn
                                                Chicago, Illinois 60603
                                                Telephone: (312) 853-7000
                                                Facsimile: (312) 853-7036
                                                * Pro hac vice applications forthcoming

                                  CERTIFICATE OF SERVICE

            I CERTIFY that on June 12, 2018, I electronically filed the foregoing with the Clerk

   of the Court by using the CM/ECF system which will send a notice of electronic filing to all

   counsel of record.


                                                       /s/ Johanna W. Clark
                                                       Attorney




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